Case 21-70415-JAD      Doc 45    Filed 02/21/22 Entered 02/21/22 15:07:00           Desc Main
                                 Document     Page 1 of 2

                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE: Gregory Burkhart                         BK NO. 21-70415 JAD
          Suzanne Lefko-Burkhart
                             Debtor(s)             Chapter 13

   Rocket Mortgage, LLC f/k/a Quicken
   Loans, LLC
                               Movant
                vs.

   Gregory Burkhart
   Suzanne Lefko-Burkhart
                                Debtor(s)

   Eric E. Bononi
                                Trustee




          ROCKET MORTGAGE, LLC F/K/A QUICKEN LOANS, LLC’S NOTICE
      OF DEBTOR’S REQUEST FOR FORBEARANCE DUE TO THE COVID-19
                             PANDEMIC


          Now comes Creditor Rocket Mortgage, LLC f/k/a Quicken Loans, LLC

   (“Creditor”), by and through undersigned counsel, and hereby submits Notice to the

   Court of the Debtor’s request for mortgage payment forbearance based upon a material

   financial hardship caused by the COVID-19 pandemic.

          The Debtor recently contacted Creditor requesting a forbearance period of 3

   months and has elected to not tender mortgage payments to Creditor that would come due

   on the mortgage starting 02/01/2022 through 04/30/2022. Creditor holds a secured

   interest in real property commonly known as 102 Shady Dr Indiana, PA 15701 as

   evidenced by claim number 9-1 on the Court’s claim register. Creditor, at this time, does

   not waive any rights to collect the payments that come due during the forbearance period.

   If the Debtor desires to modify the length of the forbearance period or make
Case 21-70415-JAD       Doc 45    Filed 02/21/22 Entered 02/21/22 15:07:00 Desc Main
                                 Document       Page 2 of 2
   arrangements to care for the forbearance period arrears, Creditor asks that the Debtor or

   Counsel for the Debtor make those requests through undersigned counsel.

          Per the request, Debtor will resume Mortgage payments beginning 05/01/2022,

   and will be required to cure the delinquency created by the forbearance period

   (hereinafter “forbearance arrears”). Creditor has retained undersigned counsel to seek an

   agreement with Debtor regarding the cure of the forbearance arrears and submit that

   agreement to the Court for approval. If Debtor fails to make arrangements to fully cure

   the forbearance arrears, Creditor reserves it rights to seek relief from the automatic stay

   upon expiration of the forbearance period.

                                                        Respectfully Submitted,

                                                        /s/Brian C. Nicholas Esquire
                                                        Brian C. Nicholas Esquire
                                                        Attorney for Creditor
